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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )           Case No. 4:10CR3044
                                                    )
                                  Plaintiff,        )
                                                    )           SECOND AMENDED ORDER
      vs.                                           )           ON SENTENCING SCHEDULE
                                                    )
MICHAEL TRIERWEILER and                             )
DEANNA TRIERWEILER,                                 )
                                                    )
                                  Defendants.       )

       IT IS ORDERED that the defendants’ unopposed motion to amend order on sentencing schedule
and to extend filing dates (filing 41) is granted.

      IT IS FURTHER ORDERED that the following deadlines and procedures are set in this case:

6.    December 6, 2010:
           (a) Any proposals to the probation office for community service, community confinement,
           intermittent confinement or home detention;

             (b) Motions to the court:
                    (1) for departure under the guidelines (including, but not limited to, motions by the
                    government) ; and
                    (2) for deviation or variance from the guidelines as allowed by the Supreme Court’s
                    decision in United States v. Booker, 125 S. Ct. 738 (2005) or its progeny;
             (c) Counsel's filing and serving on all other parties and the probation officer a written
             statement of position respecting each of the unresolved objections to the presentence report,
             including the specific nature of each objection to the presentence report.

             (d) If evidence is to be offered in support of or in opposition to a motion under
             subparagraph (b) of this paragraph or in support of or in opposition to an objection under
             subparagraph (c) of this paragraph 6, it must be: by affidavit, letter, report or other
             document attached to the statement of position or by oral testimony at the sentencing
             hearing. If oral testimony is desired, a request must be made in the statement of position
             and the statement of position must reveal (1) the nature of the expected testimony, (2) the
             necessity for oral testimony, instead of documentary evidence, such as affidavits, (3) the
             identity of each proposed witness, and (4) the length of time anticipated for presentation of
             the direct examination of the witness or witnesses. If a request for oral or documentary
             evidence is made by one party but not by the adverse party, the adverse party within five
             working days thereafter may make a responsive request for oral or documentary evidence,
             setting out details in the same manner as required by this paragraph 6(d).

             (e) Objections should be supported by a brief if a substantial issue of law is raised. Motions
             for departure should be supported by a brief that explains why the departure from the
             guideline sentencing range is justified by normal guideline departure theory. Motions for
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              deviation or variance from the guidelines as allowed under Booker or its progeny should be
              supported by a brief that explains why a sentence other than that called for under the
              guidelines is justified by a principle of law that is different in kind or degree from the
              normal principles of law applied under a strict application of the guidelines.

              (f) It is expected that any objection first raised in a party’s statement of position will be
              addressed at the judge’s discretion, and that no consideration will be given to any
              sentencing factor first raised after the filing of the written statement.

7.     December 13, 2010: Judge's notice to counsel of rulings, tentative findings, and whether oral
       testimony is to be permitted.

8.     The following procedures shall apply to objections to tentative findings:

              (a) A written objection to tentative findings is not required if no evidence will be offered in
              support of the objection to tentative findings and no new substantial issue of law will be
              raised in support of an objection to tentative findings. In such a case, an oral objection to
              the tentative findings may be made at the time of sentencing.

              (b) A written objection to tentative findings is required if evidence will be offered in
              support of the objection to the tentative findings or if a new substantial issue of law is raised
              in support of the objection to the tentative findings. If evidence will be offered in support
              of the written objection to the tentative findings, the written objection shall include a
              statement describing why an evidentiary hearing is required, what evidence will be
              presented, and how long such a hearing would take. If a new substantial issue of law is
              raised in support of the written objection to tentative findings, such an objection shall be
              supported by a brief. Unless the court orders otherwise, a written objection to the tentative
              findings will be resolved at sentencing in such manner as the court deems appropriate.

              (c) Any written objection to tentative findings shall be filed no later than five business days
              prior to the date set for sentencing. If that is not possible due to the lack of time between
              the issuance of tentative findings and the sentencing hearing, the written objection shall be
              filed as soon as possible but not later than one business day prior to sentencing.

9.     December 17, 2010 at 12:30 p.m.: Michael Trierweiler’s sentencing before Judge Kopf.
       December 17, 2010 at 1:00 p.m.: Deanna Trierweiler’s sentencing before Judge Kopf.

The probation officer is directed to provide copies of any sentencing recommendation to counsel for the
government and counsel for the defendant at the time the recommendation is submitted to the sentencing
judge.

       DATED this 28th day of September, 2010.

                                                   BY THE COURT:

                                                   Richard G. Kopf
                                                   United States District Judge
